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                                                                    ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                    DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                    DATE FILED: 3/17/2020
------------------------------------------------------------------X
  ENG BOCK CHIA, RUI GUI WU, YUE MING :
  LIN, GRACE WU, CINDY LIN, XIN QIANG :
  YU, GUI XIANG DONG, CHIN KOK HING, :
  WAI HO NG, JIANWEI XU, and WONG KAM :                                1:17-cv-5885-GHW
  FOONG,                                                          :
                                                                  :         ORDER
                                                                  :
                                               Plaintiffs,        :
                                                                  :
                              -v-                                 :
                                                                  :
  520 ASIAN RESTAURANT CORP. et al,                               :
                                                                  :
                                             Defendants.          :
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GREGORY H. WOODS, United States District Judge:
        A bench trial in this matter was scheduled to begin on Monday, May 11, 2020. Due to the

novel coronavirus (COVID1-19), and the need to minimize the number of people present in the

courtroom at any given time to effectively practice social distancing, the trial is adjourned to

October 5, 2020 at 9:00 a.m.

        The Court will hold a final pretrial conference in this case on Monday, August 31, 2020 at

10:00 a.m. Both the final pretrial conference and the trial will be held in Courtroom 12C of the

United States District Court for the Southern District of New York, Daniel Patrick Moynihan U.S.

Courthouse at 500 Pearl Street, New York, New York 10007.

 SO ORDERED.

 Dated: March 17, 2020                               _____________________________________
 New York, New York                                           GREGORY H. WOODS
                                                             United States District Judge
